Case 2:04-cV-02732-.]P|\/|-de Document 11 Filed 08/17/05 Page 1 of 2 Page|D 16

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THE UNITED sTATEs DIsTRICT COURT POR TIBI§ `“~& c).¢_
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GEORGE VVILLIAM WOFFORD, ) T]~DM¢\S y
) No. Z:M-cv-%BS p/OI.,GOMD
Plaineff. ) Hon. Diane I<. @WHHmr
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) ..
INTERNAL REVENUE SERVICE, ) 3 9\-
) 04‘&q
Defendant. - ) `

ORDER
Having considered the INTERNAL REVENUE SERVICE'S MOTION TO

CONTINUE SCHEDULING CONFERENCE, supporting memorandum, any opposition
and reply thereto, and the entire record of this proceeding, it is by the Court:
ORDERED that MOTION is GRANTED; and it is further
ORDERED that the August 25, 2005 Scheduling Conference is continued until

after a decjsion on the Internal Revenue Service’s Motion to Dismiss or until

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_ég______dayof%g@io%_ A,ZL 7- 30 A-n/\.

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so oRDERED this Zé day cf _JWMMB.
»@A M,L f Z,c/n/'

UNITED STATES DI'S:FR'I€Z` ]UDGE

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Tnis document entered on the docket sheet fn compliance
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

